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Attorneys for Defendant SCHAEFFLER GROUP USA INC.


                      IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF UTAH


 SALLY SYLVESTER, Individually and as           ORDER ON JOINT MOTION TO
 Personal Representative of the Estate of       DISMISS DEFENDANT SCHAEFFLER
 JESSE LABRUM, Deceased, DIAN                   GROUP USA INC. WITHOUT
 LARSEN, CAROLYN DUTSON, DON                    PREJUDICE
 LABRUM, GARY LABRUM, DOYLE
 LABRUM, WAYNE LABRUM and BRUCE                 Case No. 2:18-cv-00470-DB
 LABRUM,
                                                The Honorable Dee Benson
 Plaintiffs,
                                                Magistrate Judge Cecilia M. Romero
 vs.

 BLUE BIRD CORPORATION, et al.,
 (Including SCHAEFFLER GROUP USA
 INC.),

 Defendants.



        The Court having reviewed the Joint Motion to Dismiss Defendant Schaeffler Group

USA, Inc., Without Prejudice (ECF No. 163) filed on behalf of Plaintiff Sally Sylvester,

individually and as Personal Representative of the estate of Jesse Labrum, Deceased, Diane

Larsen, Carolyn Dutson, Don Labrum, Gary Labrum, Doyle Labrum, Wayne Labrum and

Bruce Labrum and Defendant Schaeffler Group USA, Inc., and good cause appearing



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therefore, IT IS HEREBY ORDERED that all claims and causes of action contained in Plaintiff's

Complaint and all amendments thereto against Defendant Schaeffler Group USA, Inc., shall be

dismissed without prejudice, each party to bear their own attorneys' fees and costs.

        This Order pertains to Defendant Schaeffler Group USA, Inc. and no other

defendant.

        Dated this 23rd day of November, 2020.


                                            _____________________________
                                            Honorable Dee Benson
                                            United States District Court Judge


Approved as to form:

/s/ Katherine Venti
Katherine Venti
PARSONS BEHLE & LATIMER
Attorneys for SCHAEFFLER GROUP USA INC


/s/ Lawrence K. Holcomb
(Pro Hac Vice)
FLINT LAW FIRM, LLC
Attorneys for Plaintiff
(signed with permission)




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 20th day of November, 2020, I caused a true and correct copy

of the foregoing proposed ORDER ON JOINT MOTION TO DISMISS DEFENDANT

SCHAEFFLER GROUP USA INC. WITHOUT PREJUDICE to be filed electronically via

the Court’s CM/ECF system, which sent notification of such filing on all counsel of record.



                                             /s/ Katherine Venti




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